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13                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MONTANA
14                                 GREAT FALLS DIVISION
15
     CHRISTOPHER TRAVIS, individually                               )
     and derivatively on behalf of MILK                             )    Cause No.: CV-22-74-GF-BMM-JTJ
16
     RIVER HUNTING PRESERVE, LLC, a                                 )
17   dissolved Montana limited liability                            )
     company,                                                       )            PLAINTIFF’S COMBINED
18                                                                  )            MOTION FOR DEFAULT
19
                                   Plaintiff,                       )           JUDGMENT AND PARTIAL
     vs.                                                            )             SUMMARY JUDGMENT
20                                                                  )               QUIETING TITLE
     JOHN KEVIN MOORE, et al.,                                      )
21                                                                  )
                                    Defendants.                     )
22
                                                                    )
23


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 1         COMES NOW, Plaintiff Christopher Travis, individually and derivatively
 2
     on behalf of Milk River Hunting Preserve, LLC, and pursuant to Rules 55(b) and
 3
     56(a), Fed. R. Civ. P., moves for default judgment and partial summary judgment
 4
     on Count V of Plaintiff’s Verified Complaint, which requests an order from the
 5

 6   Court quieting title in the following described real property located in Valley

 7   County, Montana, in the name of Milk River Hunting Preserve, LLC:

8    Township 28 North, Range 41 East, MPM
 9
     Section 28: NW¼NW¼
10               EXCEPTING THEREFROM the Railroad and Highway Right of
                 Way described as follows:
11
                   Beginning at the Northwest Section corner of Section 28; thence S.
12
                   0D 09' W. a distance of 330.00 feet along the west section line of said
13                 Section 28 to the true point of beginning; thence S. 0D 09' W.
                   continuing along the section line a distance of 344.28 feet; thence S.
14                 71D 44' 58" E. a distance of 1392.74 feet; thence N. 0D 13' 32" E.
                   along the 1/16 section line a distance of 334.88 feet; thence N. 71D
15
                   23' 18" W. along the Highway R/W line a distance of 696.00 feet to
16                 highway station 503+00; thence N. 18D 36' 42" E. a distance of 20
                   feet; thence N. 71D 23' 18" W. along the Highway R/W line a
17                 distance of 700.11 feet to the point of true beginning.
18                 ALSO EXCEPTING therefrom all of the lands north of the U.S.
19
                   Highway No. 2 located in the NW¼NW¼ Section 28, Township 28
                   North, Range 41 East, MPM. (Deed reference: Book 124 Deeds page
20                 852, Doc. No. 36749)

21                 EXCEPTING therefrom lands conveyed to the State of Montana
                   Highway Commission and more particularly described in book 65 of
22
                   Deeds on pages 613-614.
23
     Section 28: A strip or piece of land 185 feet wide in the E½NW¼ lying between
                 two lines parallel to and distant respectively, 75 feet and 260 feet
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 1                  southwesterly, measured at right angles, from the center line of the
                    main track of the railway of the Great Northern (now Burlington
 2
                    Northern) Railway Company, as now located and constructed. (Deed
 3                  reference book 63 MRE pages 27-28).

 4   Section 29: All that part of the right of way of the railway of Great Northern, now
                 Burlington Northern, lying between two lines parallel to and distant,
 5               respectively, 75 feet and 260 feet Southwesterly, measured at right
 6
                 angles from the centerline of the railway of the Great Northern
                 Railway (now Burlington Northern) Company, as now located and
 7               constructed and extending from the East line of said Section 29
                 Northwesterly to a line drawn at a right angle to said centerline of
8                railway at a point therein distant Northwesterly 800 feet, measured
                 along said center line, from its intersection with the East line of said
 9
                 Section 29. (Deed reference book 61 MRE pages 323-328)
10
     Section 29: Lots 6, 7, 13, 15, S½NE¼
11
     Section 29: Lots 1, 2, 5, 8, 10, 11, N½NE¼ less railroad and highway right-of-
12
                 way
13
     Section 30: Lot 23
14
     Township 28 North, Range 41 East, MPM
15

16   Section 28: Lots 2, 3, 8, 10, SW¼NW¼, NW¼SW¼
                 EXCEPTING from Lot 2 a tract of land more particularly described in
17               book 17 of Deeds on pages 42-43, Doc. No. 53396 – to Great
                 Northern Railway Company.
18

19
           DATED this 8th day of August, 2023.
20
                                                           CHRISTENSEN FULTON & FILZ, PLLC
21
                                                           /s/ Joseph L. Breitenbach
22
                                                               Attorneys for Plaintiff
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 1
                                        CERTIFICATE OF SERVICE
 2

 3         I, the undersigned, a representative of the law firm of Christensen, Fulton &
     Filz, P.L.L.C., hereby certify that I served a true and complete copy of the
 4   foregoing PLAINTIFF’S COMBINED MOTION FOR DEFAULT
     JUDGMENT AND PARTIAL SUMMARY JUDGMENT QUIETING TITLE
 5
     on the following persons by the following means:
 6
      1-6        CM/ECF
 7               Hand Delivery
                 Mail
8                Overnight Delivery Service
 9               Fax
                 E-Mail
10
     1.     Clerk, U.S. District Court
11
     2.     Benjamin O. Rechtfertig
12
            Hedger Friend, PLLC
13          2800 Central Ave., Suite C
            Billings, MT 59102
14
     3.     Lynsey Ross
15
            Mark Steger Smith
16          U.S. Attorney’s Office
            2601 2nd Ave. North, Suite 3200
17          Billings, MT 59101
18
     4.     Chris McConnell
19          Kirsten Madsen
            Commissioner of Securities & Insurance
20          Office of the Montana State Auditor
            840 Helena Ave.
21          Helena, MT 59601
22
     5.     Alexander L. Roots
23          Planalp & Roots, P.C.
            P.O. Box 1
            Bozeman, MT 59771
                                                               -4-
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 1

 2
     6.   John Pierce
 3        John Pierce Law
          21550 Oxnard Street
 4        3rd Floor PMB #172
          Woodland Hills, CA 91367
 5

 6
     DATE: August 8, 2023                                           /s/ Joseph L. Breitenbach
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